                     Case 2:04-cr-00040-DFL Document 146 Filed 06/13/07 Page 1 of 2
AO 245D-CAED (Rev. 9/01) Sheet 1 - Judgment in a Criminal Case for Revocation



                                    United States District Court
                                            Eastern District of California

          UNITED STATES OF AMERICA                                        JUDGMENT IN A CRIMINAL CASE
                      v.                                                  (For Revocation of Probation or Supervised Release)
                                                                          (For Offenses committed on or after November 1, 1987)
          ANGELINA NICOLE WALTERS
                      (Defendant’s Name)                                  Criminal Number: 2:04CR00040 02


                                                                          KRISTA HART, ESQ.
                                                                          Defendant’s Attorney

THE DEFENDANT:
[U]      adm itted guilt to violation of charges 1, 2, AND 3 as alleged in the violation petition filed on 5/7/2007 .
ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following violations:

Violation Num ber                    Nature of Violation                                     Date Violation Occurred
1                                    FAILURE TO PARTICIPATE IN DRUG                          4/27/2007
                                     TESTING
2                                    NEW LAW VIOLATION                                       1/22/2007
3                                    FAILURE TO NOTIFY PROBATION OFFICER                     4/12/2007
                                     OF CHANGE IN ADDRESS

The court: [U] revokes supervision heretofore ordered on 12/13/2005 .

       The defendant is sentenced as provided in pages 2 through 2 of this judgm ent. The sentence is im posed
pursuant to the Sentencing Reform Act of 1984.




        IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30
days of any change of nam e, residence, or m ailing address until all fines, restitution, costs, and special assessm ents
im posed by this judgm ent are fully paid.

                                                                                              06/07/2007
                                                                                    Date of Im position of Sentence


                                                                                           /s/ David F. Levi
                                                                                      Signature of Judicial Officer


                                                                         HON. DAVID F. LEVI, United States District Judge
                                                                                Nam e & Title of Judicial Officer


                                                                                                 June 13, 2007
                                                                                                     Date
                    Case 2:04-cr-00040-DFL Document 146 Filed 06/13/07 Page 2 of 2
AO 245B-CAED (Rev. 3/04) Sheet 2 - Imprisonment
CASE NUMBER:               2:04CR00040 02                                                                  Judgment - Page 2 of 2
DEFENDANT:                 ANGELINA NICOLE W ALTERS



                                                        IMPRISONMENT
         The defendant is hereby com m itted to the custody of the United States Bureau of Prisons to be im prisoned for a
total term of 9 MONTHS .

ANY PREVIOUSLY IMPOSED CRIMINAL MONETARY PENALTIES THAT REMAIN UNPAID SHALL REMAIN IN
EFFECT.




[U]      The court m akes the following recom m endations to the Bureau of Prisons:
         The Court recom m ends that the defendant be incarcerated at the Dublin, California facility, but only insofar as this
         accords with security classification and space availability.


[U]      The defendant is rem anded to the custody of the United States Marshal.


[]       The defendant shall surrender to the United States Marshal for this district.
         [ ] at     on     .
         [ ] as notified by the United States Marshal.


[]       The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
         [ ] before on        .
         [ ] as notified by the United States Marshal.
         [ ] as notified by the Probation or Pretrial Services Officer.
         If no such institution has been designated, to the United States Marshal for this district.


                                                               RETURN
I have executed this judgment as follows:




         Defendant delivered on                                     to

at                                          , with a certified copy of this judgment.




                                                                                              UNITED STATES MARSHAL



                                                                                        By
                                                                                                  Deputy U.S. Marshal
